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                        IN THE UNITED STATES DISTRICT COURT
                            FOR THE DISTRICT OF DELAWARE

AZURITY PHARMACEUTICALS, INC.,               )
                                             )
                      Plaintiff,             )
                                             )
       v.                                    )    C.A. No. 21-1286 (MSG)
                                             )    C.A. No. 21-1455 (MSG)
BIONPHARMA INC.,                             )
                                             )    REDACTED - PUBLIC VERSION
                      Defendant.             )


     PLAINTIFF AZURITY PHARMACEUTICALS, INC.’S ANSWERING BRIEF
     IN OPPOSITION TO BIONPHARMA’S MOTION TO STAY PROCEEDINGS

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I.        INTRODUCTION AND SUMMARY OF ARGUMENT1

          Plaintiff Azurity Pharmaceuticals, Inc. (“Azurity”) filed this case in June 2021 to enforce

its patent rights against Defendant Bionpharma Inc. (“Bionpharma”). Since then, Bionpharma has

repeatedly sought to stave off trial for as long as possible, now asking this Court to stay these cases

and push off the February 2024 trial date indefinitely. For the reasons set forth herein, Azurity

respectfully requests that Bionpharma’s motion be denied.

          Under the traditional stay factors, Bionpharma’s motion should be denied. The prejudice

factor controls the outcome here, particularly insofar as the parties are direct competitors. A delay

of trial—the practical effect of granting Bionpharma’s stay motion—would unduly prejudice

Azurity by further prolonging resolution of this case, including Azurity’s ability to attain injunctive

relief, all while Bionpharma continues to market and sell its competing product in defiance of

Azurity’s patent rights. This weighs strongly against a stay, especially because Bionpharma fails

to identify any actual hardship it will face if its motion is denied.

          The remaining stay factors support Azurity’s position. The stage of litigation—with a trial

scheduled, discovery set to close in a few weeks, and the parties having already expended

significant resources on the litigation—favors denying the request to stay. And although the

Court’s resolution of pending motions may simplify the case, that outcome is speculative, at least

because Bionpharma’s 12(c) motion is a repeat of arguments the Court has already denied.

Moreover, some issues will remain no matter the resolution of the pending motions, rendering the

simplification factor neutral. On balance, the factors disfavor a stay.

          Although Azurity previously filed a motion to stay, Azurity’s motion was materially

different than Bionpharma’s instant motion. First, Azurity’s motion was limited to seeking a stay



1
    All “D.I.” references are to the docket in C.A. No. 21-1286, unless otherwise indicated.

                                                   1
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on discovery and proceedings narrowly tailored to the antitrust issues raised in its motion to

dismiss. Bionpharma seeks a stay on the entire litigation, which is broader than the issues at stake

in the pending motions it cites. Second, the timing of the parties’ stay motions distinguishes them.

Azurity moved for its partial stay soon after Bionpharma began pursuing its antitrust counterclaims

and early in the fact discovery period. On the other hand, Bionpharma waited until the very end

of fact discovery. In fact, contrary to the parties’ previous agreement to hold antitrust discovery

in abeyance, in October Bionpharma insisted that Azurity proceed with antitrust discovery. When

Azurity agreed to proceed and served reciprocal antitrust discovery, Bionpharma changed course

and sought a complete stay of proceedings. Ultimately, Azurity withdrew its stay motion to allow

the case to proceed expeditiously and to maintain its trial date; Bionpharma now seeks a late stay

that would all but force a new trial date.

       Bionpharma’s motion to stay is really based on a series of unfounded discovery complaints

that ignores key facts, including the omission of the fact that Bionpharma refused to even discuss

a proposal from Azurity to extend the fact discovery deadline by two months, which would fully

alleviate Bionpharma’s professed concerns. Instead, Bionpharma declared an impasse and rushed

to file its motion (without the Local Rule 7.1.1 averment that it made “a reasonable effort” to reach

agreement), but then acknowledges in its brief that an extension of the schedule may cure its

complaints—a possible solution that Bionpharma refused to even discuss when Azurity proposed

it the day before. Azurity attaches here as Exhibit 1 its proposed amended schedule that would

provide the parties with sufficient time to complete discovery, including any necessary antitrust

discovery, and also maintain the current trial date. For the reasons set forth herein, Bionpharma’s

motion should be denied in its entirety. Alternatively, Azurity requests entry of the amended

schedule set forth in Exhibit 1.




                                                 2
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II.      NATURE AND STAGE OF THE PROCEEDINGS AND STATEMENT OF FACTS

         Bionpharma asserts that Azurity’s “dilatory” discovery tactics have left the parties unable

to close out discovery. D.I. 214 at 7-8, 10-13. The record shows otherwise, as described below.

Regardless, none of Bionpharma’s discovery accusations support a stay of the entire action.

         A.      Patent Discovery

                 1.     The Parties Have Engaged in Extensive Patent Discovery

         With respect to patent discovery, document discovery is largely complete. Although

Bionpharma claims that the parties have exchanged “only some” discovery (D.I. 214 at 10), the

parties agreed that all documents, interrogatories, and fact depositions from Civil Action Nos. 18-

1962-LPS and 19-1067-LPS have been deemed produced and/or operative in this case. D.I. 126

at 3, 6-7.2

         As the parties recognized early in the case (e.g., in submitting the proposed scheduling

order), the patent discovery needed in this litigation would focus on issues that were not part of

the prior litigation, such as damages. E.g., D.I. 116 at 3; D.I. 117 at 1. Discovery has proceeded

accordingly.3     For example, Bionpharma has served 99 requests for production and 9

interrogatories, mostly related to patent discovery. D.I. 215-1 (Ex.4 A); D.I. 215-2 (Ex. B);

D.I. 215-8 (Ex. H); D.I. 215-12 (Ex. M); see also D.I. 215-14 (Ex. O) at 6-7, 8 (identifying Request

Nos. 15, 20, 44-53, 59, and 63, and Interrogatory No. 4 as antitrust discovery). In corresponding



2
 This includes the document productions from the prior litigation: Azurity produced over 104,000
pages of documents; Bionpharma produced over 38,000 pages of documents; and third-party
CoreRx, Inc. (“CoreRx”), Bionpharma’s former supplier, produced over 58,000 pages of
documents.
3
  Again, using document production as a metric: Azurity has produced over 17,000 pages of
documents since the first litigation; and Bionpharma has produced about 2,000 pages of documents
since the first litigation.
4
    Lettered exhibits are attached to Bionpharma’s motion. Numbered exhibits are attached hereto.

                                                  3
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fashion, Azurity has served 80 requests for production and 11 interrogatories related to patent

discovery. D.I. 215-6 (Ex. F); D.I. 215-7 (Ex. G); D.I. 215-9 (Ex. I); D.I. 215-24 (Ex. Y); D.I. 215-

26 (Ex. AA); Ex. 3 at Interrogatory No. 11. And contrary to Bionpharma’s allegations of delay

(D.I. 214 at 10-11), Azurity proceeded with discovery in a timely manner. Other than discovery

concerning Bionpharma’s new supplier, Novitium Pharma LLC (“Novitium”)—the identity of

which Azurity only learned in September—Azurity served the vast majority of its patent-related

discovery on May 10, 2022, well before the substantial completion of document production and

close of fact discovery deadlines. D.I. 215-6 (Ex. F); D.I. 215-7 (Ex. G).5

       As the above summary indicates, the parties have engaged in significant discovery with

respect to the patent claims and defenses. Indeed, other than depositions, which Bionpharma has

not noticed, Azurity believes that it has satisfied or will shortly satisfy its patent discovery

obligations.6

                2.     The Only Pending Patent Discovery Disputes Concern Discovery from
                       Bionpharma

       The only pending patent discovery disputes concern discovery from Bionpharma, which

Azurity has properly raised with this Court. D.I. 217 at 2. These disputes should be addressed per

the Scheduling Order dispute resolution process. D.I. 126 at 7(h)(iii).




5
 In addition to the discovery to Bionpharma concerning its new supplier (D.I. 215-24 (Ex. Y);
D.I. 215-26 (Ex. AA); Ex. 3 at Interrogatory No. 11), Azurity also served third-party subpoenas
on CoreRx and Novitium (D.I. 221; D.I. 230). Azurity also recently noticed Bionpharma’s Rule
30(b)(6) deposition (D.I. 220) and depositions for five Bionpharma witnesses (D.I. 224; D.I. 225;
D.I. 226; D.I. 227; D.I. 228), as is typically done towards the end of fact discovery.
6
  Bionpharma’s assertion that it “has not yet had the opportunity to notice depositions in these
cases” is wrong. D.I. 214 at 12. At the very least, Bionpharma could have identified topics for a
Rule 30(b)(6) deposition. Azurity notes that it was able to notice Bionpharma’s corporate
deposition, in addition to depositions of Bionpharma witnesses, despite having live discovery
disputes. E.g., D.I. 217 at 2 (identifying four discovery disputes).

                                                 4
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                3.      Bionpharma’s Remaining Patent Discovery Complaints

        Bionpharma makes two unfounded accusations with respect to Azurity’s discovery conduct

 when the only outstanding disputes arise from Bionpharma’s conduct, as discussed above.

        First, Bionpharma complains of Azurity’s response to Interrogatory No. 1, which concerns

 Azurity’s validity contentions. D.I. 214 at 7-8, 11, 12. As Bionpharma notes, Azurity agreed to

 supplement its response to this interrogatory on September 19. Id. at 7. Azurity did so on October

 28, providing a 17-page response. D.I. 215-24 (Ex. Z) at 3-19. As part of Azurity’s response (its

 first since receipt of Bionpharma’s invalidity contentions), Azurity stated that it did not consider

 Bionpharma’s invalidity defenses adequately disclosed because they incorporated by reference the

 entirety of two prior expert declarations from Dr. Moreton—including one that does not concern

 any patents currently in litigation. Id. at 4. Notably, the declarations are hundreds of pages long,

 and then attach or incorporate other declarations directed to additional patents, making

 Bionpharma’s “incorporated” invalidity “contentions” thousands of pages in total. E.g., D.I. 42;

 D.I. 43. Azurity nonetheless stated that it would supplement its response if Bionpharma provided

 more definite contentions or limited its incorporation by reference to whatever positions among

 the thousands of incorporated pages it actually believes apply to the two patents-in-suit. Ex. 5 at

 1. Bionpharma has refused to do so.

        Second, Bionpharma complains that Azurity improperly withheld documents from other

 litigations on third-party confidentiality grounds. D.I. 214 at 11-12. As Azurity repeatedly

 informed Bionpharma, however, it did not oppose the production of such information but, pursuant

 to the terms of the protective orders from those other cases, Azurity simply could not produce the

 confidential information of third parties without their consent or a court order. E.g., Ex. 4 at 10;

 Ex. 6 at 8-9. Bionpharma knows that Azurity is bound by the terms of those protective orders and

 cannot produce these documents without consent of the other party or a court order: when a


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 defendant in another case requested similar documents that contained Bionpharma confidential

 information, Bionpharma initially moved to intervene and for a protective order to prevent

 disclosure of those documents. See generally Ex. 8; Ex. 9. Azurity worked diligently to secure

 such consent (at times with counsel for Bionpharma copied on the correspondence) and did so,

 although some parties did not consent until Bionpharma took its dispute to the Court. Ex. 4 at 7;

 Ex. 6 at 1; Ex. 7 at 1. Azurity promptly produced the requested documents following receipt of

 consent from the various third parties.

        In sum, Bionpharma’s patent discovery complaints are unfounded. But even if a modest

 extension to the fact discovery deadline is warranted, Azurity’s proposed amended schedule

 (Exhibit 1) would accommodate that without staying the entire action.

        B.      Antitrust Discovery

                1.      Bionpharma Initially Opposes a Stay of Antitrust Discovery

        Bionpharma served Azurity with antitrust-related discovery requests on March 21, 2022.

 D.I. 215-1 (Ex. A); D.I. 215-2 (Ex. B). Azurity filed its motion to dismiss and alternative motion

 to stay and bifurcate on March 24. D.I. 148; D.I. 149. On April 20, the parties discussed, but

 could not agree, on whether to stay the antitrust discovery served by Bionpharma until the Court

 decided Azurity’s motion, and thus Azurity filed a motion to stay such discovery the following

 day. D.I. 156; D.I. 157.

                2.      Bionpharma Subsequently Agrees to Stay Antitrust Discovery
                        Pending a Ruling on the Motion to Dismiss

        On May 2, counsel for Bionpharma sent a letter to Azurity stating that “Bionpharma is

 aware that Azurity has filed a motion to stay antitrust discovery . . . . Bionpharma will respond to

 Azurity’s motion in due course.      Without waiving Bionpharma’s immediate entitlement to

 discovery related to Bionpharma’s antitrust counterclaims, Bionpharma will defer addressing



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 Azurity’s antitrust objections until the Court resolves the motion.” Ex. 2 (the “Johnson Letter”)

 at 1 (emphasis added). Bionpharma confirmed its position in the August 8 Interim Joint Status

 Report, when the parties jointly wrote: “Because of Azurity’s pending motion to stay antitrust

 discovery (D.I. 157), no antitrust discovery has been exchanged to date.” D.I. 186 at 3. From May

 until October, Bionpharma sought no antitrust discovery and did not respond to the responses and

 objections that Azurity had served.

                 3.      Bionpharma Changes Its Mind Again and Seeks to Re-Start Antitrust
                         Discovery

         Bionpharma only re-raised the issue of antitrust discovery last month, on October 3,

 demanding that Azurity “immediately produce the antitrust discovery sought in connection with

 Bionpharma’s first sets of Rule 34 requests for production and Rule 33 interrogatories.” D.I. 215-

 35 (Ex. JJ) at 2-3. On October 6, Azurity asked Bionpharma if it was reversing the position set

 forth in the Johnson Letter, stating it was “not aware of a live dispute regarding antitrust discovery

 other than that which the Parties have already fully briefed, and which is presently sub judice.” Id.

 at 2. Bionpharma replied:

             [The Johnson Letter] was predicated on the belief that the parties would
             receive an order on Azurity’s motion to stay antitrust discovery well before
             the close of fact discovery in these cases . . . . At the risk of stating the
             obvious, the parties have not yet received an order from the Court on
             Azurity’s motion to stay antitrust discovery, and the fact discovery cutoff is
             in approximately two months . . . .

 Id. at 1.

         Prompted by Bionpharma’s change of course, Azurity diligently began to proceed with

 antitrust discovery, particularly given the approaching close of discovery on December 12.

 Specifically, on November 1 and 2, Azurity served Bionpharma with document requests and a

 deposition notice and provided Bionpharma with copies of Rule 45 subpoenas Azurity intended to

 serve on various third parties. D.I. 215-27 (Ex. BB); D.I. 215-28 (Ex. CC); D.I. 215-29 (Ex. DD).


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 Bionpharma then demanded that Azurity withdraw not only its stay motion, but also its motion to

 dismiss, as well as “its objection to producing antitrust discovery.” D.I. 223-1, Ex. E at 1. There

 was no basis for Bionpharma to request that Azurity withdraw the motion to dismiss, and Azurity

 maintains its positions described in that motion. However, although Azurity’s earlier motion to

 stay antitrust discovery pending resolution of the motion to dismiss was appropriate, Azurity’s

 foremost priority is to proceed expeditiously with the litigation and keep its trial date so that it can

 prove its patent infringement claims. Accordingly, Azurity agreed to proceed with antitrust

 discovery (pending resolution of the motion to dismiss) and withdrew its earlier motion to stay.

 D.I. 211.

                4.      Bionpharma Changes Its Mind Again and Seeks to Stay All Discovery

        Five days later, and after Azurity also pressed Bionpharma for agreed-upon damages

 discovery, Bionpharma changed course yet again. On November 7, Bionpharma informed Azurity

 that it “intend[ed] to seek a stay of proceedings pending resolution of the parties’ motions to

 dismiss.” D.I. 223-1, Ex. B at 1. When the parties met and conferred the next day, Azurity

 proposed a two-month extension of the fact discovery deadline (attached as Exhibit 1) that would

 accommodate Bionpharma’s concerns regarding the time left in discovery, but Bionpharma’s lead

 counsel refused to discuss the proposal and hung up. See, e.g., D.I. 217 at 2; D.I. 223 at 2-3.

        Bionpharma filed its stay motion the next day, seeking an indefinite extension of the

 schedule. D.I. 214. Notably, Bionpharma did not mention Azurity’s proposed schedule extension

 in its opening papers. Bionpharma also failed to include the required statement averring that it

 made “a reasonable effort” to reach agreement with Azurity on these issues, and its motion can be

 denied on that basis alone. D. Del. L.R. 7.1.1; see generally D.I. 213.




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 III.   LEGAL STANDARDS

        Courts have discretionary authority to grant a motion to stay. Cost Bros., Inc. v. Travelers

 Indem. Co., 760 F.2d 58, 60-61 (3d Cir.1985). “Courts consider three factors in deciding how to

 exercise this discretion: (1) whether a stay will simplify the issues for trial; (2) the status of the

 litigation, particularly whether discovery is complete and a trial date has been set; and (3) whether

 a stay would cause the non-movant to suffer undue prejudice from any delay or allow the movant

 to gain a clear tactical advantage.” Minerva Surgical, Inc. v. Hologic, Inc., No. 18-217-JFB-SRF,

 2021 WL 1840645, at *2 (D. Del. May 7, 2021) (citations omitted), report and recommendation

 adopted, 2021 WL 2856596 (D. Del. July 8, 2021). “It is well settled that before a stay may be

 issued, the petitioner must demonstrate ‘a clear case of hardship or inequity,’ if there is ‘even a

 fair possibility’ that the stay would work damage on another party.” Gold v. Johns-Manville Sales

 Corp., 723 F.2d 1068, 1075-76 (3d Cir. 1983) (quoting Landis v. N. Am. Co., 299 U.S. 248, 255

 (1936)); Intell. Ventures I LLC v. Toshiba Corp., No. 13-453-SLR/SRF, 2015 WL 3773779, at *2

 (D. Del. May 15, 2015) (same).

 IV.    ARGUMENT

        A.      Because Resolution of the Parties’ Pending Motions Is Uncertain, the
                Simplification Factor Is Neutral

        Azurity does not dispute that the Court’s resolution of the parties’ pending motions—i.e.,

 Azurity’s motion to dismiss (D.I. 148; D.I. 149); and Bionpharma’s Rule 12(c) motion (D.I. 172;

 D.I. 173)—may simplify issues for trial, and indeed, Azurity took this position in its original

 Motion to Stay (D.I. 157 at 5-8). But Azurity’s stay motion was very different than Bionpharma’s

 motion. Azurity’s motion was limited to staying only antitrust discovery, and, if granted, would

 have allowed the parties to focus on and resolve the patent issues in a timely fashion, whereas

 Bionpharma’s present motion will delay the entire proceedings. See Orthophoenix, LLC v. Dfine,



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 Inc., No. 13-1003-LPS, 2015 WL 1938702, at *1 (D. Del. Apr. 28, 2015) (Stark, J.) (reasoning

 that antitrust counterclaims raise “complex issues potentially requiring discovery well beyond

 what is relevant to patent infringement and invalidity”). Moreover, whether resolution of pending

 motions could simplify issues for trial does not end the inquiry under this factor. “[T]he Court

 cannot solely focus on the potential outcome most favorable to the party seeking the stay; instead,

 it must assess ‘all of the possible outcomes of the proceeding or inquiry that the case would be

 stayed in favor of.’” Yodlee, Inc. v. Plaid Techs. Inc., No. 14-1445-LPS-CJB, slip op. at 4 (D. Del.

 July 20, 2015) (Ex. 10) (quoting Kaavo Inc. v. Cognizant Tech. Sols. Corp., No. 14-1192-LPS-

 CJB, 2015 WL 1737476, at *2 (D. Del. Apr. 9, 2015)). Where “[t]he chance that a stay might lead

 to the total dismissal of the case, or to a very significantly narrowed set of claims or legal issues,

 seems roughly similar to the chance that it would not . . . this factor [is] neutral.” Id. at 6; see also

 Cronos Techs., LLC v. Expedia, Inc., No. 13-1538-LPS, 2016 WL 1089752, at *1 (D. Del. Mar.

 21, 2016) (finding “the simplification of issues factor neither favors nor disfavors a stay” where

 “there is at least a potential for significant simplification of issues in this case . . . [but] if the PTO

 does not invalidate all of the asserted claims, significant issues will remain to be resolved”); Shure

 Inc. v. ClearOne, Inc., C.A. No. 19-1343-RGA, slip op. at 1 (D. Del. Nov. 1, 2019) (Ex. 11) (“[T]he

 simplification factor is neutral at best. While it is true that if the Court were to grant Defendant’s

 Motion in its entirety, the case would be over, (D.I. 44 at 1), that Motion involves many different

 arguments about many different types of claims. Even if some arguments made via the Motion

 are successful, some may not be, and it is thus reasonable to infer that (purely as a statistical matter)

 there is a decent likelihood that at least a portion of the non-patent case will survive the Motion.”).

         These cases are apt here. In particular, unless both parties’ motions to dismiss are granted

 outright, a significant portion, if not all, of this case will move forward. Moreover—in addition to




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 simply the number and type of claims currently pending between the parties—there is good reason

 to believe that this case will move forward. To wit, Bionpharma’s Rule 12(c) motion is based on

 the same claim preclusion argument that the Court already rejected in denying Bionpharma’s initial

 motion to dismiss. Compare D.I. 8-1 (Bionpharma’s Motion to Dismiss) at 2 (“[U]nder Federal

 Circuit law, including SimpleAir . . . , Azurity’s claims in the instant Third Wave Suit are precluded

 and the Complaint should be dismissed.”), with D.I. 173 (Bionpharma’s 12(c) Motion) at 1 (“[T]he

 ’023 patent’s claims . . . are essentially the same as the claims that failed in the prior suits, per the

 Federal Circuit’s decision in SimpleAir . . . .”); see also D.I. 87 (denying Bionpharma’s motion to

 dismiss); D.I. 96 at 114:6-22 (“I’m not sure today that the defendants are correct in their

 interpretation of SimpleAir. . . . [I]t’s undisputed that the ’023 patent, that is the patent-in-suit,

 contains broader claims than the claims that were asserted in the first wave or second wave cases

 before me. . . . From that it follows, I think, that the noninfringement arguments credited in my

 post-trial opinion in the first wave case are probably irrelevant here.”). Thus, Bionpharma’s claim

 that a stay may result in simplification with respect to the patent issues appears speculative, which

 counterbalances any potential simplification, thereby rendering this factor at least neutral with

 respect to the patent claims.7 Pragmatus AV, LLC v. Yahoo! Inc., No. 11-902-LPS, 2013 WL

 2372206, at *3 (D. Del. May 30, 2013) (finding the simplification factor “weighs against a stay,”

 in part due to “the speculative nature of the prospect for simplification of the issues were a stay

 granted”); The Gillette Co. v. Dollar Shave Club, Inc., No. 15-1158-LPS-CJB, slip op. at 7-8

 (D. Del. Sept. 19, 2016) (Ex. 12) (finding the simplification factor “neutral” where “there are a




 7
  This is a factually different situation than with respect to Azurity’s motion to dismiss the antitrust
 counterclaims (and stay antitrust discovery), where the Court has not previously considered those
 arguments.

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 number of non-frivolous legal arguments standing in the way of a successful outcome for

 [defendant]”) (citing Yodlee, slip op. at 6).

        Bionpharma even admits that its 12(c) motion is not dispositive of all patent issues, which

 further weighs against a stay. D.I. 214 at 9 n.4; e.g., Belden Techs. Inc. v. Superior Essex

 Commc’ns LP, No. 08-63-SLR, 2010 WL 3522327, at *2 (D. Del. Sept. 2, 2010) (“[A] stay is not

 favored when . . . other issues outside the purview of [the separate proceedings] remain to be

 tried.”). A motion to dismiss the ’405 Patent would not be pro forma, as Bionpharma suggests,

 but would require an independent determination of whether its claims are patentably indistinct.

 Notably, the claims of the ’405 Patent are broader than those of ’023 Patent, which was the very

 reason that Judge Stark determined “the noninfringement arguments credited in my post-trial

 opinion in the first wave case are probably irrelevant here.” D.I. 96 at 114:11-22.

        B.      With the Close of Fact Discovery Approaching and a Trial Date Set, the Stage
                of the Litigation Disfavors a Stay

        Under the second stay factor, courts focus on “whether discovery is complete and a trial

 date has been set.” Minerva, 2021 WL 1840645 at *2. With fact discovery closing in less than a

 month (December 12, 2022) and trial set to begin on February 1, 2024 (D.I. 126 at 3, 18), this

 factor weighs against a stay.

        Azurity filed this case on June 22, 2021—over 16 months ago. D.I. 1. Since then, the

 parties have engaged in preliminary injunction proceedings (D.I. 24), a motion to transfer (D.I. 7),

 four separate dispositive motions (D.I. 8; D.I. 97; D.I. 148; D.I. 172), and multiple discovery

 disputes (D.I. 189; D.I. 199; D.I. 217), among other proceedings. The parties have also engaged

 in extensive discovery, as discussed above. Supra § II.A.1. Furthermore, the parties are poised to

 conduct depositions, as is typical at the end of fact discovery. In short, this case is not in “early

 stages of litigation” when “motions to stay are most often granted.” Pragmatus, 2013 WL 2372206



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 at *2 (citations omitted). Rather, “the Court and the parties have already expended significant

 resources on the litigation, [such that] the principle of maximizing the use of judicial and litigant

 resources is best served by seeing the case through to its conclusion.” Id.

        Indeed, courts have routinely found this factor to weigh against a stay when presented with

 similar circumstances. E.g., id. at *2-3 (finding the stage of litigation factor to weigh “slightly

 against a stay” where no trial was scheduled, but the complaint was filed 19 months earlier, the

 fact discovery deadline was less than a month away, the parties had engaged in extensive

 discovery, and where the court had resolved a motion to transfer, a motion to dismiss, objections

 to both, and numerous discovery disputes); SoftView LLC v. Apple Inc., No. 10-389-LPS, 2012

 WL 3061027, at *4 (D. Del. July 26, 2012) (finding the stage of litigation factor to “not favor a

 stay” where, despite no trial date and limited discovery, “[s]ubstantial time and resources have

 been devoted in this case to scheduling and the resolution of discovery disputes, as well as . . .

 motions to sever, stay, and dismiss”); Life Techs. Corp. v. Illumina, Inc., No. 09-706-RK, 2010

 WL 2348737, at *3-4 (D. Del. June 7, 2010) (finding the stage of litigation factor to “not favor a

 stay” where trial was scheduled, the fact discovery deadline was less than six months away, and

 more than a million pages of documents had been produced). So too here.

        Because Bionpharma cannot dispute that the case is at a stage in which this factor

 traditionally weighs against a stay, it instead argues that discovery is “far from complete” and

 Azurity is to blame. D.I. 214 at 10-13. Even if relevant to this factor, as explained in greater detail

 above (supra §§ II.A-B), Bionpharma’s allegations concerning the status of discovery and

 Azurity’s discovery conduct are simply wrong. Specifically, discovery on the patent claims is

 largely complete (but for resolution of Bionpharma’s refusals to provide certain discovery to

 Azurity). Moreover, Bionpharma agreed to defer antitrust discovery for five months. And




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 although Bionpharma sought to resume antitrust discovery last month, it quickly changed its mind

 again after seeing the reciprocal discovery served by Azurity.8

         C.      Delaying Trial Will Unduly Prejudice Azurity and Allow Bionpharma to Gain
                 a Clear Tactical Advantage, Which Strongly Weighs Against a Stay

         By its motion, Bionpharma seeks “a significant extension of the schedule, including a new

 trial date.” D.I. 214 at 14. But delaying trial will cause undue prejudice to Azurity in further

 prolonging the resolution of this case,9 thereby allowing Bionpharma to gain a clear tactical

 advantage in continuing to market and sell its competing, infringing product. As prejudice is the

 “most substantial and important issue” to consider in evaluating a request for a stay, this alone

 warrants denial of Bionpharma’s motion. ImageVision.Net, Inc. v. Internet Payment Exch., Inc.,

 No. 12-054-GMS-MPT, 2013 WL 663535, at *5 (D. Del. Feb. 25, 2013), report and

 recommendation adopted, 2013 WL 1743854 (D. Del. Apr. 22, 2013); see also ImageVision.Net,

 Inc. v. Internet Payment Exch., Inc., No. 12-054-GMS, 2012 WL 5599338, at *5 (D. Del. Nov. 15,

 2012) (“[T]he potential for a stay to simplify the issues before the court does pull gently in

 [defendant’s] favor. This factor, however, weighs lightly in this case and is insufficient to

 overcome the prejudice consideration.”).



 8
   Notably, Bionpharma does not seek to stay antitrust discovery only. Nor does Bionpharma join
 Azurity in its motion asking the Court to stay and bifurcate the antitrust counterclaims pending
 resolution of the patent claims, as is “common practice” in these cases. See D.I. 149 at 19 (citing
 Eagle Pharm., Inc. v. Eli Lilly & Co., No. 18-1121-MSG, 2018 WL 6201704, at *2 n.3 (D. Del.
 Nov. 27, 2018) (Goldberg, J.)). Instead, Bionpharma seeks to stay all proceedings pending
 resolution of both its 12(c) motion and Azurity’s motion to dismiss, but fails to explain why such
 an extraordinary remedy is justified.
 9
   There should be no dispute that it is prejudicial for a plaintiff to lose its trial date. E.g., Intell.
 Ventures I LLC, v. AT & T Mobility LLC, No. 13-1668-LPS, 2016 WL 6542857, at *2 (D. Del.
 Oct. 24, 2016) (Stark, J.) (recognizing that “a stay would prejudice [p]laintiff” were it to “lose its
 trial date”); Dentsply Int’l, Inc. v. Kerr Mfg. Co., 734 F. Supp. 656, 658 (D. Del. 1990) (“Any
 delay in the litigation of 89-167 will forestall the trial date agreed upon by [the parties] and result
 in prejudice to [plaintiff].”).

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        First, Azurity and Bionpharma are undisputedly direct competitors. E.g., D.I. 214 at 14

 (referring to “Bionpharma’s competing generic product”). “It is well established that [c]ourts are

 generally reluctant to stay proceedings where the parties are direct competitors.” ImageVision.Net,

 2013 WL 663535 at *6 (internal quotation omitted) (compiling cases); see also Minerva, 2021 WL

 1840645 at *3 (“‘[A] patentee has an interest in prompt enforcement of its patent rights,’

 particularly where, as here, the parties are direct competitors.”) (quoting IOENGINE, LLC v.

 PayPal Holdings, Inc., No. 18-452-WCB, 2020 WL 6270776, at *3 (D. Del. Oct. 26, 2020)

 (Bryson, J.)); Liqwd, Inc. v. L’Oreal USA, Inc., No. 17-14-JFB-SRF, 2018 WL 11189633, at *4

 (D. Del. Dec. 12, 2018) (“The court concludes that [plaintiff] would suffer substantial prejudice

 from a stay because [the parties] are direct competitors in a two-player market . . . .”); Fairchild

 Semiconductor Corp. v. Power Integrations, Inc., 100 F. Supp. 3d 357, 363 (D. Del. 2015) (Stark,

 J.) (“[T]hese parties are fierce competitors who have been litigating against one another in multiple

 fora for over a decade, which disfavors a stay.”); Cooper Notification, Inc. v. Twitter, Inc., No. 09-

 865-LPS, 2010 WL 5149351, at *5 (D. Del. Dec. 13, 2010) (Stark, J.) (“Courts are reluctant to

 stay proceedings where parties are direct competitors.”) (citations omitted). This is because

 “delaying adjudication of a dispute between the competing parties . . . can ‘have outsized

 consequences to the party asserting [claims for relief,] including the potential for loss of market

 share and an erosion of goodwill.’” FMC Corp. v. Summit Agro USA, LLC, No. 14-51-LPS, 2014

 WL 3703629, at *5 (D. Del. July 21, 2014) (quoting SenoRx, Inc. v. Hologic, Inc., No. 12-173-

 LPS, 2013 WL 144255, at *7 (D. Del. Jan. 11, 2013)); see also Shure, slip op. at 1 (Ex. 11) (“These

 parties are real, direct competitors in what appears to be a fairly narrow market, and so there is the

 worrisome prospect of continuing harm . . . that may be difficult to later fully address via monetary




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 damages.”). For the same reasons, the fact that Azurity and Bionpharma are direct competitors

 weighs strongly against a stay.10

         Second, despite the parties’ status as competitors being an integral component of the stay

 calculus, Bionpharma addresses this relationship obliquely at best, arguing that moving trial would

 not prejudice Azurity because (1) Azurity lost its preliminary injunction motion; and

 (2) Bionpharma’s presence on the market has not irreparably harmed Azurity. D.I. 214 at 13-16.

 Like with its analysis of the preceding factor, however, Bionpharma again fails to cite a single case

 in support of its positions. Both of these arguments are legally unsound.

         As to Bionpharma’s first argument, the preliminary injunction proceedings do not support

 Bionpharma’s argument—they undermine it. Seeking a preliminary injunction is a “signal” that

 the parties compete and that “‘real prejudice will flow from the imposition of a stay.’” FMC, 2014

 WL 3703629 at *6 (quoting Neste Oil OYJ v. Dynamic Fuels, LLC, No. 12-1744-GMS, 2013 WL

 3353984, at *4 (D. Del. July 2, 2013)); see also Minerva, 2021 WL 1840645 at *3 (“[Plaintiff]

 sought a preliminary injunction at the outset of the case . . . [which] further supports [its] contention

 that real prejudice could result from the imposition of a stay.”) (citing SenoRx, 2013 WL 144255

 at *8). This is so even where the plaintiff was unsuccessful in the effort to obtain a preliminary




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   Notably, the Asserted Patents do not expire for more than 13 years (March 25, 2036) and Azurity
 intends to seek injunctive relief if it prevails at trial. A delay of trial would cause Azurity undue
 prejudice insofar as it would delay Azurity’s opportunity to seek injunctive relief. E.g., Minerva,
 2021 WL 1840645 at *3 (“[Plaintiff’s] patent will not expire for another eight years, and the harms
 resulting from the alleged infringement continue to accrue.”); SenoRx, 2013 WL 144255 at *9
 (“The Court, of course, takes no position on whether [plaintiff] will be able to ultimately show in
 the latter stage of this case that infringement has occurred and, if it has, whether it cannot be
 sufficiently compensated by money damages. But it need not draw such absolute conclusions to
 acknowledge the real prejudice [plaintiff] could face from a very lengthy delay before it can even
 reach that stage and have those issues resolved.”); Cooper, 2010 WL 5149351 at *4 (noting that
 the patentee’s “right to enforce the patent in the interim would be severely hindered”).

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 injunction.11 E.g., Minerva, 2021 WL 1840645 at *3 (prejudice factor weighs against stay);

 Minerva Surgical, Inc. v. Hologic, Inc., No. 3:17-cv-02013-JD, 2018 WL 306689, at *7 (N.D. Cal.

 Jan. 5, 2018) (denying motion for preliminary injunction).

        Bionpharma’s second argument is likewise wrong, as it conflates undue prejudice with

 irreparable harm. Contrary to Bionpharma’s argument, courts have repeatedly “cautioned not to

 equate the calculus utilized with respect to this factor of the three-factor test (which examines

 whether [plaintiff] will likely suffer ‘undue prejudice’ from a stay) with that of the test used to

 examine a request for a preliminary injunction (which asks, inter alia, whether any harm suffered

 is irreparable).” SenoRx, 2013 WL 144255 at *8 (citations omitted); see also Fairchild, 100 F.

 Supp. 3d at 362-63 (“The Court is not persuaded by [defendant’s] contention that because the

 Court already found that [plaintiff] could not meet its burden of showing irreparable harm to

 support a permanent injunction in Fairchild II . . . , Fairchild cannot possibly be unduly prejudiced

 by a delay.”); FMC, 2014 WL 3703629 at *6 (“[I]t is important to note that the test for obtaining

 injunctive relief is different from the calculus at play in considering this [prejudice] stay-related

 factor . . . .”); Malon v. Franklin Fin. Corp., No. 3:14-cv-671 HEH-RCY, 2014 WL 5795730, at

 *2 (E.D. Va. Nov. 6, 2014) (“Courts generally consider undue prejudice to be something less than

 irreparable harm.”) (quotations and citations omitted). Accordingly, Bionpharma’s reliance on




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    Moreover, “all findings of fact and conclusions of law at the preliminary injunction stage are
 subject to change upon the ultimate trial on the merits.” Purdue Pharma L.P. v. Boehringer
 Ingelheim GmbH, 237 F.3d 1359, 1363 (Fed. Cir. 2001); see also Wyrough & Loser, Inc. v. Pelmor
 Labs., Inc., 376 F.2d 543, 548 (3d Cir. 1967) (“[T]he district court’s findings in preliminary
 injunction cases are tentative and inconclusive . . . .”) (citations omitted); D.I. 96 at 106:3-5 (“I am
 making the statements in the context of a preliminary injunction. It’s not a final decision.”).

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 whether or not Bionpharma’s presence on the market is causing Azurity irreparable harm does not

 answer the question of whether or not Azurity would suffer undue prejudice from a stay.12

        Third, the timing of Bionpharma’s request to stay, as well as its changes in positions,

 supports an inference that it “is seeking an inappropriate tactical advantage.” Belden, 2010 WL

 3522327 at *2; see also Toshiba Samsung Storage Tech. Korea Corp. v. LG Elecs., Inc., 193 F.

 Supp. 3d 345, 350 (D. Del. 2016) (“[I]f the timing of the[] filings [relevant to defendant’s stay

 request] appears less focused on facilitating an orderly review of patent claim validity, and more

 focused on simply disrupting the progression of the non-movant’s district court case for

 disruption’s sake, that can weigh against a stay.”). In stark contrast to Azurity’s early request for

 a stay of antitrust discovery, Bionpharma lay silent for months before requesting that the Court

 stay the case pending resolution of Azurity’s motion to dismiss the antitrust counterclaims (filed

 March 24, 2022 (D.I. 148)) and Bionpharma’s 12(c) motion (filed June 29, 2022 (D.I. 172)).

 Bionpharma did not seek a stay of proceedings until after it withdrew from the parties’ agreement

 to hold antitrust discovery in abeyance, and after Azurity diligently served its antitrust discovery

 in response. Supra § II.B.4. Bionpharma’s subsequent refusal to even consider a proposal to

 extend the fact discovery deadline (id.) suggests that it is not interested in the orderly completion

 of discovery but in delaying trial. This is improper and supports Azurity’s prejudice argument.

 E.g., Courtesy Prods., L.L.C. v. Hamilton Beach Brands, Inc., No. 13-2012-SLR/SRF, 2015 WL

 5145526, at *2 (D. Del. Sept. 1, 2015) (denying stay motion when used as “procedural tool”).




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    In addition, the longer that trial is delayed, the greater the risk that Bionpharma will be unable
 to satisfy a damages judgment (as damages will continue to accrue), which weighs against a stay.
 E.g., Hologic, Inc. v. Minerva Surgical, Inc., No. 20-925-JFB-SRF, slip op. at 5 (D. Del. Sept. 15,
 2022) (Ex. 13) (finding that the defendant’s potential inability to satisfy a damages judgment if the
 case is delayed weighs against a stay).

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            Additionally, Bionpharma’s shifting position on whether or not this case should move

 forward further supports Azurity’s prejudice argument. E.g., Alstom Grid LLC v. Certified

 Measurement, LLC, No. 15-72-LPS-CJB, slip op. at 3-4 (D. Del. May 16, 2016) (Ex. 14) (“It is

 notable that when [declaratory-judgment plaintiff] filed its Section 101 Motion [eight months ago],

 it did not seek a stay of the proceedings pending resolution of that motion. Indeed, a mere ten days

 [later], [it] filed a brief in opposition to the stay being sought at that time by [patentee] pending

 resolution of an inter partes review proceeding regarding the asserted patents (a proceeding that

 had been instituted by non-parties). . . . Now, however, at this later stage of the case and in the

 middle of claim construction, [plaintiff] seeks a stay pending resolution of its Section 101 Motion,

 and in support, has made some statements that are clearly inconsistent with its prior arguments to

 the Court. . . . [T]his alone warrants considering the undue prejudice factor to militate against a

 stay.”).

            Fourth, Bionpharma has failed to demonstrate that the denial of a stay would result in a

 “clear case of hardship or inequity,” as required when the stay would prejudice another party (here,

 Azurity). Gold, 723 F.2d at 1075-76. The only purported hardship identified by Bionpharma—

 an alleged inability to fairly complete discovery—is wrong, or at the very least mooted by

 Azurity’s proposal to extend the fact discovery by a reasonable period.

            As an initial matter, it is simply not the case that Azurity unilaterally “refused” to produce

 antitrust discovery.13 Per the Johnson Letter, the parties mutually agreed to “defer addressing

 Azurity’s antitrust objections until the Court resolves the motion.” Ex. 2 at 1; supra § II.B.2.




 13
   Bionpharma’s claim that Azurity served 70 percent of its requests for production concerning
 patent issues within the last two months (D.I. 214 at 16) is equally incorrect. Supra § II.A.1.

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 Bionpharma only withdrew this position in October (D.I. 215-35 (Ex. JJ) at 1), and thereafter

 Azurity diligently began serving antitrust discovery. Supra § II.B.3.

        Nevertheless, Bionpharma now argues that Azurity is supposedly “depriving it of the

 sufficient time it needs to secure, and to produce its own, antitrust discovery.” D.I. 214 at 17. This

 is also wrong, as demonstrated by Bionpharma’s refusal to even discuss the schedule with Azurity.

 Supra § II.B.4. In other words, Bionpharma’s alleged hardship is entirely of its own making,

 which does not qualify as the “clear case of hardship or inequity” required to secure a stay. E.g.,

 Millennium Pharms., Inc. v. Teva Parenteral Meds., Inc., No. 09-CV-105, 2010 WL 1507655, at

 *3 (D. Del. Apr. 14, 2010) (finding that defendants’ alleged hardship “is one of their own creation,”

 which “is not the type of hardship or balance of inequities that can appropriately convince this

 Court to issue a stay”).

 V.     CONCLUSION

        In sum, although the first factor (simplification of the issues) is neutral under the

 circumstances here, the second factor (stage of litigation) weighs against a stay, and the third factor

 (prejudice)—the “most substantial and important issue” (ImageVision.Net, 2013 WL 663535 at

 *5)—weighs strongly against a stay. Accordingly, for the foregoing reasons, Azurity respectfully

 requests that the Court deny Bionpharma’s motion to stay proceedings or, in the alternative, enter

 the amended schedule proposed by Azurity which is attached hereto as Exhibit 1.




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  November 23, 2022




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                                 CERTIFICATE OF SERVICE

        I hereby certify that on November 30, 2022, I caused the foregoing to be electronically

 filed with the Clerk of the Court using CM/ECF, which will send notification of such filing to all

 registered participants.

        I further certify that I caused copies of the foregoing document to be served on

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